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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov


In re:                                                      Case No. 8:18-bk-01970-RCT
                                                            Chapter 7
John Allan Wolding,


Debtor(s).
______________________________/

      CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
   REAL ESTATE SERVICES AND SNAP REALTY TO PROCURE CONSENTED
           PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 & 330

         Christine Herendeen, as Chapter 7 Trustee (the “Trustee”) for the above referenced

Debtor(s) (together, the “Debtor”), files this Application to authorize retention of (1) BK

Global Real Estate Services (“BKRES”) and (2) Snap Realty (the “Listing Agent”) In support

thereof, the Trustee respectfully states as follows:

                                  PRELIMINARY STATEMENT

         The Trustee requests approval to retain BKRES and Hunt Realty Group, at no cost to

the estate, to negotiate with and persuade the first lien holder on certain real property in which

the estate has no equity to (1) allow Trustee to sell such property at the highest price that the

market will bear, (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506

surcharge to provide a carve out for the benefit of the estate and pay all other sale expenses,

including a 6% brokerage commission that will be shared equally by BKRES and Listing

Agent only upon the closing of a sale that is approved by this Court.

         BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers,

real estate brokers and agents, closing specialists and attorneys with extensive experience in
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procuring the consent of mortgage lenders and servicers to sell over-encumbered properties

and provide significant cash recoveries to selling estates with no equity, through the

Consented Sale™ process described herein.

         BKRES and Listing Agent will not be entitled to any compensation from the estate

whatsoever under any circumstances. They will only receive and share a customary brokerage

commission that is paid by secured creditor as a 11 U.S.C. § 506 surcharge approved by this

Court.

         The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carve out for the benefit of the estate

with proceeds from the public sale of an asset in which the estate has no equity and

(2) expects to obtain secured Creditors’ agreement to a Consented Sale™, and bring a

separate motion seeking this Court’s approval of the procedures, terms and conditions by

which the over-encumbered property will be sold, within the coming months.

                                           Jurisdiction

         1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).

         2.       Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                          Background

         3.      On 03/14/2018, the Debtors commenced this case by filing a voluntary petition

for relief under Chapter 7 of the United States Bankruptcy Code.

         4.      Thereafter, the Trustee was appointed as the Chapter 7 Trustee in this case.
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        5.       The Trustee held and concluded the 341 meeting on 04/18/2018.

        6.       The Debtor is the sole owner of real property located at 17954 Branch Rd,

Hudson, FL 34667 (the “Property”).

        7.       The Debtor scheduled the Property with a value of $148,775.00 ”. The

Property is subject to mortgage liens (the “Senior Mortgage”) in favor of Nationstar Mortgage

A/K/A Mr. Cooper (collectively, the “Secured Creditors”) in an amount exceeding

$263,762.00, and a junior lien lien in favor of Flagstar in an amount exceeding $80,000.00

        8.    The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BKRES

and Listing Agent, has determined it to be in the best interest of the Debtor’s estate and all

creditors to negotiate to obtain Secured Creditors’ agreement and consent (“Consent”) to do

the following, with the proviso that the hired professionals, BKRES or Local Agent, shall not

participate in the sale and purchase of any estate property except as hired brokers:

                 a. sell the Property to whichever third party Trustee determines to have made

                      the best qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against

                      the estate with respect to the Property (including any deficiency claims

                      resulting from the proposed sale); and




1
  The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.
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               c. If the Property is sold to a third party, agree to a 11 U.S.C. § 506 surcharge

                   to pay all the expenses associated with the proposed sale, including the

                   payment of a 6% real estate brokerage commission to BKRES and Listing

                   Agent and reimbursement of their out-of-pocket expenses, and provide a

                   carveout for the benefit of allowed unsecured creditors of the Debtor’s

                   estate;

               d. If Secured Creditor purchases property, agree to a 11 U.S.C. § 506

                   surcharge to pay all the expenses associated with the proposed sale,

                   including the payment of a 2% real estate brokerage commission to

                   BKRES, of which a $500.00 fee will be paid to Listing Agent, and provide

                   a carveout for the benefit of allowed unsecured creditors of the Debtor’s

                   estate.

       9.    Trustee expects to obtain Secured Creditors’ Consent and bring a separate motion

seeking an order approving the sale of the Property (the “Motion to Approve Sale”) within

several months of the entry of the order sought by this Application.

       10. By this Application, the Trustee requests authority pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure

Secured Creditors’ Consent, and (b) approve Secured Creditors’ payment of the fees

described below directly to BKRES and Listing Agent at closing of the sale of the Property, if

and when the Consent and Motion to Approve Sale are granted.

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           11.     Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor

“with the court’s approval, may employ or authorize the employment of a professional person

under section 327...on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.”

11 U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a

trustee… or a professional person employed under section 327…(A) reasonable compensation

for actual, necessary services rendered [by such party]… and (B) reimbursement for actual,

necessary expenses.” 11 U.S.C. § 330(a)(1). Compensation will be determined later in

accordance with 11 U.S.C. § 330.

           12.     As further described in the materials attached to their affidavits, BKRES2 and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage

lenders and servicers to the sale of their collateral and resolution of any resulting unsecured

claims in order to produce a recovery for estates from over-encumbered assets in which the

estate has no equity.

           13.     The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at

the highest price that the market will bear. The Trustee further believes that such a sale is in

the best interest of the Debtor’s estate, but can only be achieved if Secured Creditors’ Consent

is first obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to

obtain Secured Creditors’ Consent is in the best interests of the Debtor’s estate.




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    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
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       14. In no event will the estate have any obligation to pay BKRES or Listing Agent.

The terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing

Agent are only entitled to payment if and when (a) Secured Creditor grants its Consent,

(b) the Motion to Approve Sale is granted and (c) the Property is sold, in which event BKRES

and Listing Agent will receive and share a 6% real estate brokerage commission at closing in

accordance with the order approving the sale.

       15. BKRES and Listing Agent will not be entitled to any fees if Secured Creditor

does not grant its Consent or the Court does not grant the Motion to Approve Sale.

       16. The Trustee submits that the terms of employment and compensation as set out in

the BKRES Agreement and listing agreement are reasonable in light of the extensive

experience of BKRES and Listing Agent and the nature of the services they provide.

       17. BKRES attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014

and 2016(a). Attached hereto as Exhibit “A” is an Affidavit of Disinterestedness of BKRES.

BKRES also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee

with any individual or entity other than Listing Agent.
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       18. Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014

and 2016(a). Attached hereto as Exhibit “B” is an Affidavit of Disinterestedness of Listing

Agent including a Bankruptcy Broker Addendum and the Listing Agreement. Listing Agent

also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than BKRES.

                                          CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the

Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court

approve the compensation arrangements set forth in the BKRES Agreement and Listing

Agreement pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

         Dated: May 23, 2018                             Respectfully submitted,

                                                         /s/Christine Herendeen
                                                         Chapter 7 Trustee
                                                         P.O. Box 152348
                                                         Tampa, FL 33684
                                                         Telephone: (813) 438-3833
                                                         Email:
                                                         clherendeen@herendeenlaw.com
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                                 CERTIFICATE OF SERVICE

       I certify that On May 23, 2018 a true and correct copy of the Application to Retain BK

Global Real Estate Services and Snap Realty Real Estate Broker was provided by electronic

delivery or U.S. mail to:

       U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602

       Christie D. Arkovich, Law Offices of Christie D. Arkovich, 1520 West Cleveland St.,
       Tampa, FL 33606

       John Allan Wolding , 17954 Branch Road, Hudson, FL 34667


                                    /s/ Christine L. Herendeen_________
                                    Christine L. Herendeen
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                                        SCHEDULE 1
          STATEMENT OF QUALIFICATIONS AND SERVICES OF BKRES
BK Global™
BK Global™ is a national company with a bankruptcy service platform containing a network
of certified BK real estate Brokers and Agents, a national marketplace for listing and submitting
bankruptcy real estate purchase offers (www.bankruptcylistings.com), and a centralized team
of loan servicing specialist that enable Federal Trustees to streamline and manage their real
estate needs most effectively for the benefit of the bankruptcy estate and unsecured creditors.
By integrating its unique services and implementing its proprietary tools, BK Global is poised
to create industry standards and efficiencies.
Consented Sale™

A Consented Sale™ is an “enhanced” agreement between all requisite stakeholders, the most
important being the lender/servicer, of a residential or commercial property for less than what
the owner still owes on the mortgage. A Consented Sale™ is a beneficial alternative to
foreclosure when a homeowner needs to sell and can no longer afford to make their mortgage
payments. The lender agrees to accept less than the amount owed to pay off a loan now rather
than taking the property back by foreclosure and trying to sell it later. Lenders agree to a
Consented Sale™ because they believe it will net them more money than going forward with a
lengthy and costly foreclosure process.
A Consented Sale™ is an “enhanced” short sale and BK Global™ is able to obtain pre-consent
by utilizing its proprietary BK Score™ system that analyzes and provides lenders an immediate
evaluation of the value of the property and its probability for sale. In addition, BK Global™ is
able to agree with lenders/servicers on a strike price for each property, and utilize its national
www.bankruptcylistings.com marketplace for listings and online offer management platform.

BK Score™

BK Score™ is generated from a finite set of data points in a prescribed sequence to achieve a
resulting score between the values of 1 and 100. The BK Score™ is shared with trustees,
servicers, courts, and software management platforms and indicates the likelihood that an asset
in a bankruptcy is qualified for consented disposition. The higher the BK Score™ there is a
better chance to sell the property. In addition to the presented scores, BK Global provides the
trustee a solution to sell the asset which maximizes the benefit to the estate. BK Global™ is at
the forefront of creating new industry standards for trustee services.

To consistently measure and predict market value of real estate assets nationally, in an ever
changing and fluid real estate market, it is important to have a well-defined methodology that
explains how values are derived. The BK Score™ uses multiple data points to predict sales
confidence compared to the limited local market inputs used by real estate brokers who are not
certified in short sales. BK Score™ incorporates a number of unique methodology questions
that include the data points listed below.
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 Highlighted BK Score™ Data Points
     ●   Asset Value / Liabilities / Liens
     ●   Judicial / Non-judicial State Analysis
     ●   Pro Se (Professional Legal Representation)
     ●   Title Search
     ●   Statement of Intent by Debtor
     ●   Foreclosure Timeline Analysis
     ●   Redemption Period Analysis
     ●   Community / Non-community Asset
     ●   Asset Valuation Model (AVM)

 BK Score™ Core Benefits

Increased Confidence of a Consented Short Sale – BK Score™ gives lenders, servicers and real
estate professionals more precise information on which to determine baseline sales values to achieve
a successful consented short sale.
Accelerates the Short Sale Decision Process – Technology that utilizes scoring systems allows
lenders/servicers to make instant valuation and sales consent decisions. This is notable as applications
for consented sale of property can be approved by lenders/servicers in hours rather than weeks for
sales values which score above a lender's score cutoff.
Reduces Risk of Completing a Cooperative Short Sale – There are certain barriers to a short sale.
Servicers are frequently wary of short sale offers because of concerns that they are settling the debt at
too low a price. Greater probability that servicers will consent to a short sale is made possible thanks
to BK Score™. The BK Score™ empowers any lender/servicer to quickly set a cut off price and begin
the short sale process, without time-consuming phone calls, faxed documents, or any effort from the
agent or trustee.
Increases Transaction Transparency – BK Global™ is integrated with most major lender/servicers
nationally. The BK Score™, which has revolutionized the default servicing industry, helps servicers
select and execute optimal baseline valuations based on measurable guidelines while driving
efficiency, fostering transparency and facilitating compliance. With the use of BK Score™ agents and
trustees can quickly collaborate and determine an appropriate list price that allow agents to begin
pursuing sales offers with confidence.
The BK Score™ algorithm has been developed by industry experts that have over 30 years of
experience in Distressed Real Estate and Bankruptcy Sales. To date, over 2 years of bankruptcy assets
have been analyzed and scored using the BK Global Scoring system. BK Score™ is a trademark
pending registration with the US Trademark and Patent Office.




 BK Search™
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BK Search™, powered by the leading national investigation firm Interfor Inc., enables trustees
in the BK Global™ program to perform nationwide searches on all potential assets in
bankruptcy. Trustees will receive an extremely valuable initial report prior to their 341(a)
meeting, which will allow them to question uncovered assets. Interfor is a US based
international investigation and security consulting firm specializing in comprehensive
intelligence services to the legal, corporate, financial communities and individuals. The
company is staffed by highly skilled investigators and fraud examiners, many of whom have
been associated with government, defense, and intelligence agencies worldwide, including the
United States CID, CIA, DEA and FBI agencies. Interfor is fully licensed and operates in the
United States, Europe, the Middle East, the Americas, Africa and Asia. The investigators are
also supported by a sophisticated research division using state-of-the-art technology.
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